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                                                U NI T E D S T A T E S DI S T RI C T C O U R T
                                                  DI S T RI C T O F S O U T H D A K O T A
                                                         W E S T E R N DI VI SI O N


U NI T E D S T A T E S O F A M E RI C A                                                  5: 2 0 - C R-5 0 1 2 2
                Pl ai ntiff                                                 M O TI O N T O C O M P E L F E D. R. C RI M. P R O.
                        v.                                                  1 6 DI S C O V E R Y, TI M E L Y B R A D Y
                                                                            DI S C L O S U R E A N D F O R A D DI TI O N A L
KI M B E R L E E PI T A W A N A K W A T                                     R E LI E F
                D ef e n d a nt




Ki m b erl e e Pit a w a n a k w at
2 6 2 1 4 F ost er R o a d
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